  Case 22-20823-GLT         Doc 313     Filed 01/30/23 Entered 01/30/23 15:41:12             Desc Main
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                        IN THE UNITED STATES BANKRUPTCY COURT                              FILED
                       FOR THE WESTERN DISTRICT OF PENNSYLVANIA                            1/30/23 3:37 pm
                                                                                           CLERK
 IN RE:                                             :                                      U.S. BANKRUPTCY
                                                    :   Bankruptcy No. 22-20823-GLT        COURT - WDPA
 U LOCK INC
 Debtor                                             :   Adversary No.
                                                    :
                                                    :   Related to Docket No. 312
                                                    :
                                                    :   Daily Request
                                                    :




                                 NOTICE OF TRANSCRIPT ORDER
                                   WITH COMPLETION DATE


Robert S. Bernstein, Esq. has ordered transcript(s) for hearings held on the date(s) listed below:

        January 27, 2023


The transcript is being prepared by J&J Court Transcribers, Inc. The estimated completion for
this transcript is February 1, 2023.



                                                             Michael R. Rhodes, Clerk
                                                             United States Bankruptcy Court



 Date: 01/30/2023                                             By:            /s/ Hayley Smith
                                                                                  ECRO




#61-M
